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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
 ________________________________________
                                                )
 FATMA MAROUF AND BRYN ESPLIN,                  )
 a married couple,                              )
                                                )
                                                )
                                                )
                           Plaintiffs,          )
                                                )
                            v.                  ) Case No. 1:18-cv-378 (APM)
                                                )
 XAVIER BECERRA, in his official capacity as )
 Secretary of the U.S. Department of Health and )
 Human Services, et al.,                        )
                                                )
                                                )
                           Defendants.          )
                                                )
 ________________________________________ )

                                             ORDER
       This case is before the Court on the Parties’ Joint Motion to Modify Scheduling Order,

ECF No. ____. For the reasons stated in that joint motion, it is hereby

       ORDERED that motions for summary judgment will be due July 27, 2022; that

oppositions to motions for summary judgment will be due September 14, 2022; and that replies

in support of motions for summary judgment will be due October 12, 2022.

       It is so ordered.                                                  2022.05.27
                                                                          09:36:55
Date: May ____, 2022
                                                                          -04'00'
                                                     AMIT P. MEHTA
                                                     U.S. District Judge




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